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                                  AFFIDAVIT IN SUPPORT OF
                                   A CRIMINAL COMPLAINT

       I, Christopher Nichols, being first duly sworn, hereby depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

       1.        I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI), and

have been since January 2020. I am currently assigned to the Milwaukee Division’s Joint

Terrorism Task Force, where I investigate violations of federal law. I have investigated and

assisted in the investigation of matters involving violations of federal related to domestic

terrorism, and anti-riot laws. Previously, I spent 14 months as a judicial clerk in Hennepin

County Minnesota where I served as a judicial clerk for a Minnesota State Court Judge on a

felony criminal rotation. I have a bachelor’s degree in Business Administration and a Juris

Doctor degree.

       2.        I make this affidavit in support of a criminal complaint for Ashton Howard, who

committed violations of 18 U.S.C. 922(g)(1) (felon in possession of ammunition).

       3.        This affidavit is intended to show merely that there is sufficient probable cause

for the requested complaint and does not set forth all of my knowledge about this matter.

                                       PROBABLE CAUSE

       4.        On December 30, 2020, the U.S. District Court for the Eastern District of

Wisconsin, U.S. Magistrate Judge Stephen C. Dries, approved and issued a search warrant for,

among other things, the premises of 5025 26th Avenue, Kenosha, Wisconsin, 53140, and the

person of Ashton Howard. Case No. 20-MJ-508 (SCD).

       5.        On the morning of January 4, 2021, law enforcement agents executed that

warrant. At the time, Ashton Howard and an adult individual with initials N.S. were present.




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       6.      During execution of the warrant, agents searched an upstairs bedroom, which was

the bedroom Howard and N.S. used. In the bedroom, agents found among other things, men’s

and women’s clothing, along with a wallet with Howard’s identification in it, and a backpack

containing documents with Howard’s name on them. In the closet in the bedroom, agents found

clothing and other personal items. On a shelf in the closet, agents found a box of .45 caliber

Winchester ammunition containing approximately 39 bullets.

       7.      During the execution of the warrant, agents interviewed N.S. at the residence.

During that interview, N.S. stated that she uses the upstairs bedroom and that Howard often uses

that bedroom and keeps items in the bedroom, although sometimes he sleeps on a couch. With

regard to the ammunition found in the closet, N.S. stated that Howard obtained the ammunition

from a person on 61st Street in Kenosha and brought it back to the residence. N.S. further said

that she does not own a gun and that it was not her ammunition. At one point, N.S. stated that she

has had a desire to obtain a .22 caliber handgun.

       8.      Later in the day, N.S. was served with legal process after Howard had been

arrested. While being served with the legal process, N.S. changed her story and claimed the

ammunition was hers. N.S. stated to agents she received the ammunition from a friend and did

not want to get that friend in trouble. N.S. told agents this friend gave her the ammunition

because she was planning to purchase a .22 caliber firearm. As stated above, the ammunition

found at the residence was .45 caliber.

       9.      Prior to the execution of the warrant, law enforcement conducted surveillance of

Howard on multiple occasions. During the time period between mid-November 2020 and late-

December 2020, Howard was observed at the 5025 26th Avenue, Kenosha, Wisconsin 53140, on

multiple occasions.

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       10.     Records show that Ashton L. Howard was convicted in U.S. District Court for the

Western District of Louisiana, Case No. 16-CR-72, of the felony offense of possessing stolen

firearms in violation of 18 U.S.C. 922(j) and 924(a)(2). HOWARD was sentenced to 27 months

in prison. Judgement was entered by the court on September 16, 2016.

                                        CONCLUSION

       11.     Based on the forgoing, I submit there is probable cause to believe Ashton L.

Howard committed violations of 18 U.S.C. § 922(g)(1) (felon in possession of ammunition).




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